Case o-24-/loo4-reg Vocl Filed 04/20/24 Entered 04/20/24 100/711

SUR teM tier it telem cel CeCtrlt (pus) Igor: bolo

United States Bankruptcy Court for the: ; y

| District of
Case number know): Chapter you are filing under,
0 Chapter 7 i * fo, D359
O Chapter 11 7 ~ 7
OO chapter 42

CI Check if this is an
amended filing

DN Chapter 13

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing stone. A married couple may file a bankruptcy case together-—called 2
Joint case—and in Joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you owm a car,”
the answer would be yes if cither debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distingulsh between them, In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
game person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

aa Identify Yourselt

About Debtor 4: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Writo tha name that is on your x)
qovemmeant-issuad picture a ~
identification {for example, mm Game First name
your driver's license or

passport). MAA Maddie name
Bring your picture \\ Cr

identification to your mecting —- Last name Last name
with the trustee.

Suhix (Sr. de, iil) Suffix (Sr, H., 1, 1)

2. All other names you

Dovick a ee

have used in the last & First nsine First name
years \
Include your married or Middle name Middle name
maiden names. A \ \o¢ _
Lasi name Leal name
rist namo Pant nares
Middie name Middle name
Last mare Last name
3. Only the last 4 digits of | 4 ~? _
your Social Secunity AXXO \ AK me — —
number or federal OR OR
Individual Taxpayer
Sixx — xx Sx — xx - _.

identification number
(ITIN)

Othaal Fomn 101

Voluntary Potition for Individuals Filing for Bankruptcy

page i

Case 0-24-/10504-reg VOC 1 Filed 04/20/24

Debtor 4 \y 1 / Y 5 \A \ \\ e C
Feu Neene irtdhe Nae konowl Mowries
About Oebtor 4:

4. Any business names

Case nuriber gaan}

entered 04/20/24 Lo‘O/T Lt

About Debtor 2 (Spouse Only in a Joint Caso):

and Employer SA’ nave not used any business names or EINs. (2 | have not used any business names or EINs.

Identification Numbers

(EIN) you have used in

the last 8 years Business name Business name

Include trade names and

doing business as names Riniesatano| a Business name OO
RR — ix em
iw 0 CU EIN Sears

5. Where you live

if your mailing address is different from the one

above, fill it in here, Note thal the court will send
any nolines to you at this mailing address.

Hf Debtor 2 fives at a different address:

Number Street

cy — State 21P Code

County

if Debtor 2's mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mading address.

Number Street

P.O. Box

City State «21 Code

6, Why you are choosing Gheck one:
this. district to file for

bankruptcy 1 have lived In th:s district longer than in any

other distdct.

(1 i have another reason. Explain.
(See 28 U.S.C. § 1408.)

Over the last 180 days beforn filing this patition,

Official Form 101

Cy Sisle 21 Code

Check one:

( Over tho tast 180 days before filing this petition,
| have lived in this district longer than in any
other district,

(2 t have another reason. Explain.
(See 28 U.S.C. § 1408.)

Voluntary Petition for individuals Fliing for Bankruptcy page 2

Case o-24-/1loo4-reg Vocl Filed 04/20/24 Entered 04/20/24 100/711

Debtor 4 \ > \N ul \ » = Mi \\er __ Case number jittecuen)__ . ie
et iaicter Peaerie * tae Sere
Ee the Court About Your Bankruptcy Case

7. The chapter of the Check one. (For a brief desenption of each, see Notice Requirod by 17 U.S.C. § 342(b) for individuals Fling
Bankruptey Code you for Bankruptcy (Form 2010). Also, go te the top of page 1 and chack the appropriate box.
are choosing to file |
under — Chapter 7

Chapter 14
UI Chapter 12
a Chapter 13

& How you will paythe fee Cli wilt pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about haw you may pay. Typically, if you aro paying the fea
yourself, you may pay with cash, cashier's check, or money order, H your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card ar check
with a pre-printed address.

i need to pay the fee in installments. if you choose this option, sign and attach the
Application for individuals to Pay The Filing Fea in installments {Official Form 103A).

Cl | request that my fee bo waived (You may request this option only if you are filing for Chapter 7.
By jaw, a judge may, but is not required to, warve your fee, and muy do so only if your income is
jess than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in instalments). If you choose this option, you must fill out the Application fo Have tha
Chapter 7 Filing Fee Waived (Official Farm 1038) and file it with your petition,

® Have you filed for Bo
bankruptcy within the Oy, a os
8s. Distnet a PM ee rumber
last 8 years? ‘ re MMi DD/YYYY
Cietrict no When «Gate number a ——a
MM? OOS YYYY
District cy, MOO ___.. Gasa ramber _ ee —
MMi DOIYYYY
10. Are any bankruptcy DNe
cases pending or bein
filed tre sicline who is Qh yes. Debtor __ ss _____ Reistionship te you __
not filing this case with District ee Whess Casa number, if known,
you, or by a business MM IOD 1YTYY
partner, or by an
affiliate?
Devtor Redationshipto you
Dingict When 3 __ Case number, ifknown
MM? DID / ¥VYY
11. Do you rent your CI No. Goto fine 12.
residence? Id Yes. Has your landiord obtained an eviction judament against you?

CD No. Go te tine 19

Q Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition,

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 3

Case o-24-/loo4-reg Vocl Filed 04/20/24 Entered 04/20/24 100/711

Debtor 4 Gage number ie iawn

rut Name dri Moree Lax Name

ar Report About Any Businesses You Own as a Sole Proprietor

12, Are you a sole proprietor Chic. Go to Pari 4.

of any full- or parttime
business?

A sole proprietorship is 4
business you operate as an
individual, and is nota
separate legal entity such as
a comeoration, partnership, or
LLC.

Hf you Wave more than one
sole proprictorship, use a
separate sheet and altach it
to this petifian

13, Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a small business
debtor or a debtor as
dofined by 11 U.S. ©. §
4182(1)?

For 4 definition of smaff
business debtor, sad
THULS.G. § 1010510).

Oificial Fama 104

Yes. Name and location of business

Name of business, if any

Number Street

City Slate 2P Code

Check the appropriate box lo describe your business:

( Health Care Business (as dofined in 11 U.S.C. § 101(27A))
CI Singte Asset Real Estate {as defined in 11 U.S.C. § 101(51B))
(J Stockbroker (as defined in 17 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))
CI) None of the above

if you are filing under Chaptor 11, the court must know whelher you are @ smail business debtor ar a debtor
choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
most recent balance sheet, stalarnont of operations, cash-flow statement, and federal income tax return or
if any of thesa documents do not oxist, follow the procedure in 11 U.S.C. § 1116(1)(B)

Ne. {am not filing under Chapter 11.
OQ Ne. tam fiting under Chapter 11, but fam NOT a smail business debtor according to the definition in
the Bankruptcy Code.
(1 Yes. | am filing under Chapter 11, | am a small business debtor according to ine defirition in the Banswruptcy
Godo, and | do not choose to proceed under Subchapter V of Chapter 11
] Yes, | am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

Voluntary Petition for Individuals Filing for Bankruptey page 4

Case o-24-/loo4-reg Vocl Filed 04/40/24 Entered 04/20/24 100/711

Debtor ¥

ee Case numbor jw come

Frit Pennies “Wide Nana ni

EE 20 if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any A No
property that poses or is .
alleged to pose a threat 4] Yes. What is the hazard? - -
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For cxample, do you own
perishable goods, or livestock ~

thaf must bo fed, or a buitding
that needs urgent! repairs?

ifimmeciate attention is needed, why is it needed?

Where is the property?

Number Street

Offiaal Form 101 Voluntary Potition for Individuals Filing for Bankruptey page &

Case o-24-/loo4-reg Vocl Filed 04/20/24 Entered 04/20/24 100/711

Debtor 7

Fem home

Bo Explain Your Efforts to Receive a Briefing About Credit Counseling

Medic Kane

Lav Nome

Case number jw ioe

45. Tell the court whether
you have received a
briefing about credit
counseling.

The law roquires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
vutnfully check ono of the
following choices. if you
cannot do so, you are not
oligible to file

If you file anyway, the court
can dismiss your case, you
will lage whatever filing foo
you paid, and your creditors
can begin collection actiilies
again

Official Form 101

About Debtor 4:

You musi chack one:

About Debtor 2 (Spouse Only in a Joint Case}

You must chack ane:

CI i received a briefing from an approved credit

l received a briefing from an approved crodit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | recelved a
certificate of completion,

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency

(3 1 received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but 1 do not have a
certificate of completion.

With:n 14 days after you fila this bankrupicy petition,
you MUST fite a copy of the cortificate and payment
plan, if ary.

C1 | certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a Xlay temporary waiver
of the requiremant.

To ask for a 30-day temporary waiver of the
requirement, attach a separate shoat explaining
what efforts you mado (o obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not recenang a
riefing before you filed for bankruptcy

H the court 1s satisfied with your reasons, you must
stil receive 3 bnefing within 30 days afler you filo.
You must file a certificate fram the approved
agency, aiong wilh a copy of the payment plan you
developed, if any. If you de nol do so, your case
may bo disrrissed.

Any extension of tho 30-day deadline is granted
only for cause and is lemted to a maximum of 15
days.

J 1 am not required to receive a briefing about

credit counseling because of:

UL} incapacity. | have a mental illness or a mental

joficierdy that makes ma
neapable of realizing or making
‘ational decisions about finances.

ily physical disability causes me
to De unable to participate ina
Dricfing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C} Active duty. | am currently on active military
duty in a military combat zone.

it you believe you are not required ta receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

C3 disanitity.

Voluntary Petition for individuals Fiting for Bankruptcy

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Aitach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C] I received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but I do not have a
certificate of complction.

Within 14 days after you file this bankruptcy petition,
you MUST tile a copy of the cortificale and payment
plan, if any.

Dh certify that I asked for credit counseling

services from an approved agancy, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary walver
of the requiramant.

To ask for a 30-day temporary waiver af the
requirement, attach 6 separate sheet explaining
what efforts you made to obtain the brefing, why
you were unable to obtain it hefare you filed for
bankruptcy, and what exigent circumstances
required you fo fite this case

Your case may 66 dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satished with your reasons, you must
Sull receive @ bnefing within 30 days after you file.
You must file 2 certificate from the approved
agency, along with a copy of the payment plan you
developes, if any. 1 you do not do so, your case
may bo dismissed.

Any extension of the 30-day deadiine is granted
only for cause and is limited to a maximum of 15
days.

Ct am not required to receive a briefing about

credit counseling because of:

Q Incapacity. {have a menial illness or a mental
deficiency Liat nukes me
incapable of realizing or making
rational decisions about finances
My physical disability causes me
{o be unable to participate ina
briefing in person. by phone, or
through the internet, even after |
reasonably tried io do so

Oo Active duty. | am currently on active military
duly in a military combat zore

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for walver of credit counseling with the court.

C2 Disabitity.

page 6

Case o-24-/loo4-reg Vocl Filed 04/20/24 Entered 04/20/24 100/711

Debtor ¢

Case number tf Anon)

Last Rane

Eo Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

16a. Are your debts primarily consumer debts? Consumer debis are defined in 11 U.S.C, § 101(8)
a$ “Incurred by an individual primarily for a personal, family, or household purpose.”

C2 No. Go to line 16b.
4 Yes. Go to line 17

16b. Are your debts primarily business debts? Susinoss debts are debts that You inourred to obtain
money for a business or investment or through the operation of the business or investment

id Neo. Go to line téc.
OC Yes. Go to line 47.

6c. State the type of debts you owe thal are not consumer debts or business debts

-a No, | am not filing under Chapter 7. Go to line 18,

Do you ostimate that after C3 Yos. fam filing under Chapter 7, Do you estimate that after any exempt property is excluded and

any exempt property is
excluded and
administrative oxpenses
are paid that funds will be
available for distribution
to unsecured creditors?

18, How many creditors do ( [1-49
you estimate that you c 9

owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

administrative expenses are paid that funds will be available to distribute to unsecured creditors?

Q) No
C2 ves
C1 1,000-5,000 So so0
CD) 5.001-10,000 £1 '30-007-100,000
OQ 100-199 0 10,001-25,000 (2 More than 100,000
(J 200-999
O) $0-$50,000 C $1,000,001-$10 milion © $509,000,001-$1 billion

QO) $50,001-$100,000
C] 3100.001-$500,000
a $600,001-$14 milion

( $0-$50,c00

C) $50,001-$100,000
(1 $100,001-$500,000
F $500,001-81 million

QO $10,000,001-$50 million
© $50,000,007-$100 mitton
(© $100,000,001-$500 million

CQ $1.006,001-$10 million

CD $46,900,001-$50 miltion
CJ $50,000,007-3100 million
D $100,000,001-$500 million

OC) $1,000,000,001-$10 bition
© $10,000,000,001-$50 billion
(J More than $50 billion

CJ $500,000,001-81 billion

CT $1,000,000,001-$16 billion
OF £10,000,000,091-$50 billion
QO More than $56 billion

For you

Official Form 101

i have examined this petition, and | declare under penalty of pequry that the information provided js true and

correct.

If | have chosen to file under Chapter 7, | am aware thal | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Coda. | undorstand the relief available under each chapter, ond | choose to proceed

under Chapter 7.

If no allorney represents me and | did not pay or agree to pay someone whe is not an attomey to help me fill gut
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b),

i request relief in accordance with the chapter of tite 11, United States Code, specified in this petition.

| understand making a faise statement, concealing py
with a bankrupicy case can resyft in fines up to $2

Execuled on
wie

Voluntary Petition for Individuals Filing for Bankruptcy

x

ony, OF ODLaining money or property by fraud in connection
00, or imprisonment for up to 20 years, or botn.

Executed on

Signature of Debtor 2

MMS OO fYYTY

page 7

Case o-24-/loo4-reg Vocl Filed 04/20/24 Entered 04/20/24 100/711

For your attorney, if you are
represented by one

if you are not represented
by an attorney, you do not
need te file this page.

NiO

Official Form 401

feAkcttie Pecerven

Caeer 0 anmery

i, the altomey for the debtor(s) named in this petition, declare that | have informed the debtor(s)
to proceed under Chapter 7, 11, 12, or 13 of tite 11, United States Code, and have explained the relief
available under each chapter for which the parson is eligible. | also ce
the notice required by 11 U.S.C. § 342(b) and, in a case in which
knowledge after an inquiry that the Infomation in the

x

ify that | have delivered to the debtor(s)
§ 707(b}4}(D) applies, certify that | have nc
schedules filed with the petition is incorrect.

about eligibility

ts Date
Signature of Attorney for Debtor MM of O10 /YYYY
Printed name
Firm name eae ~
Nuit nber Street — =
iy fF “| Stale 7iP Code
fo
Contgd phone ee _. Emad address
“
Bar number Site
Voluntary Petition for individuals Filing for Bankruptcy page 8

Case o-24-/loo4-reg Vocl Filed 04/20/24 Entered 04/20/24 100/711

Debtor 1

ton Mae Adie Names

For you If you are filing this
bankruptcy without an
attorney

lf you are represented by

an attomey, you do not
need ta file this page.

Olticial Form 104

x

Case number (¢incun)

Cal Narre

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has fong-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and 3 mistake or inaction may affect your rights. For example. your case may be
dismissed because you did not file a required document, pay u fee on time, attend a meeting or
hearing, of cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens, you could lose your right to file another
case, or you may loso protections, including the benefit of the automatic stay.

You musi list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedulss, If you do not list a debt, the debt may not be discharged. I! you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property. falsifying recards, or lying. individual bankruptcy
cases afe randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you cecide to file without an attomey, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you difforantly because yuu are filing for yourself, Ta be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the focal rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serous action with long-term financial and jecal
consequences?

O No

ef Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptey forms are
inaccurate of ncomplete, you could be fined ar imprisoned?

CQ) No

A Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

(J Yas. Name of Porson -
Attach Bankruptcy Patition Preparur's Nouce, Declaraton, and Signature (Official Form 119).

By signing here, i acknowledge that | understand Sks involved in filing without an attorney. |

have read understood this gotice, and J am @ that filing a bankruptcy case without an
attorney mgly cause me to lose/ny ri or #1 do not properly handle the case.
j , x
Signature of Debtar 1 Signature of Debtor 2
Dare O04 [dio | a Date a
/MM/OD FYYYY MM/ DD /¥YYY

= \ G —= | Ca
Contact wn WW “\\p 4 >i \ a Contac phone
Cel phone Cell phone —

€ arta 6 on a
Emaa address pax \QG CEX \ if Cay Ger a\\ COC Ema address

5 “5 7
Voluntary Petition for individuals Filing for Bankruptcy page 9

Case o-24-/loo4-reg Vocl Filed 04/20/24 Entered 04/20/24 100/711

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

WWH.aVeb usconrt S.20V

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

'1EBTOR(S): “VDav) of a Z IM ( / / Z CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
clated Cases, to the petitioner's best knowledge, information and belief:

VOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the carlier case was pending at
1y¥ time within eight years before the filing of the new petition, and the debtors in such cases (1) are the same; (ii} are spouses or OX-spouses; (iit)
e affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
aniters, (v1) are partnerships which share one or more common general Partners; or (vit) have, or within 180 days of the commencement of eithe:
fihe Related Clases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 54h (ap)

NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

CASE NO.: 2 JUDGE: DISTRICT/DIVISION:& ¢ Esko C 4.
CASE PENDING: (YESINO): __/ V O _ tfctosed| Date of Closing: Di SH r — TAT

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE abave):

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
RAL PROPERTY AS LISTED IN DEBTOR'S SCHEDULE “A/B — PART I” WHICH WAS ALSO LISTED IN SCHEDULE “A/B" OF
RELATED CASES:

SCHEDULE A/R: ASSETS — REAL PROPERTY “OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL. PROPERTY AS LISTED IN DEBTOR'S SCHEDULE “A/B — PART 9" WHICH WAS ALSO LISTED IN
SCHEDULE “A/8" OF RELATED CASES:

CASE NO. JUDGE: __ .. DISTRICT/DIVISION:

CASE PENDING: (YES/NO): /V a [if closed] Date of Closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, ctc.

MANNER IN WHICH CASES ARE RELATED: (Refer te NOTE above): _

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B ~ PART I” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES: a

SCHEDULE A/B; ASSETS —- REAL PROPERTY "OFFICIAL FORM 206A/B - ON-INDIVIDUAL” PART 9 (REAL PROPERTY)
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9" WHICH WAS ALSO LISTED IN SCHEDULE “A/B" OF

RELATED CASES:.

Case o-24-/1loo4-reg Vocl Filed 04/20/24 Entered 04/20/24 100/711

[OVER]
DISCLOSURE OF RELATED CASES {cont’d)
CASE NO,: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): [// closed] Date of Closing:
CURRENT STATUS OF RELATED CASE: a5

(Discharged/awaiting discharge, confirmed, dismissed, ctc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): —

SCHEDULE A/B: PROPERTY "OFFICIAL, FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR'S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B" OF
RELATED CASES: i

a

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUA L” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCIIEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B" OF RELATED CASES:

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may no
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

Tam admitted to practice in the Eastern District of New York (¥IN):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except 2s
indicated elsewhere on this form,

h Signature of Pro-se Debtor/Petitioner

Rat Lomi Sy

Mailing Address of Debtor/Petitioner

Seakych AM AIRS

z, \

City, State, Zip Code

Email Addr

S DHULg- BAD

Area Code and Telephone Number

Signature of Debtor's Attorney

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.

Case o-24-/1loo4-reg Vocl Filed 04/40/24 Entered 04/20/24 100/711

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK.

In re: Case No.
Chapter

Debtor(s)

XK

DECLARATION OF PRO SE DEBTOR(S)

All individuals filing for bankruptcy pro se (without an attorney), must provide the following information:

Name of Debtor(s): Doc A\\\e-

Address:
Email Address:
Phone Number: CD)

CHECK THE APPROPRIATE RESPONSES:
FILING FEE:
___ PAID THE FILING FEE IN FULL
APPLIED FOR INSTALLMENT PAYMENTS OR WAIVER OF THE FILING FEE

PREVIOUS CASES FILED: 1. 2. 3.

ASSISTANCE WITH PAPERWORK:
Y xo ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES
___ HAD ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES

{f Debtor had assistance, the following information must be completed:

Name of individual who assisted:

Address:
Phone Number: ( _)
Amount Paid for Assistance: $

Debtor’s Signature

Joint Debtor's Signature

Case o-24-/loo4-reg Vocl Filed 04/20/24 Entered 04/20/24 100/711

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

wt

In Re: Case Na.

Chapter

Xa A \) \\ x Debtor(s)

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

pated: -\\A\0\ 94 }- 4)

Debtor! -

Joint Debtor

f

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Attomey for Debtor

USBC44 Rev. 1/18

Case o-24-/loo4-reg Vocl Filed 04/20/24 Entered 04/20/24 100/711

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